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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


   CONDADO 3 CFL, LLC,

               Plaintiff,                             CIV. NO. 18-1928 (PG)

                    v.

   ESTEBAN DIAZ-VEGA, ET AL.,

               Defendants.




                                            ORDER

       On December 5, 2018, plaintiff Condado 3 CFL, LLC filed the above-captioned
foreclosure case against defendants. See Docket No. 1. Defendants answered the complaint and
pleaded, among other things, that pursuant to the applicable law, defendants had an absolute
right to exhaust compulsory mediation proceedings before this execution action could proceed
because the property in question was defendants’ principal residence. See Docket No. 11. On
April 2, 2019, the court ordered plaintiff to show cause as to why the case shall not be stayed
and referred to mediation, per defendants’ request in their answer. See Docket No. 12. The
plaintiff neglected this deadline. On April 8, 2019, the court entered a scheduling/management
order pursuant to which the parties had to file a joint ISC memorandum by May 3, 2019. See
Docket No. 13. This deadline also elapsed without compliance. As a result, this case’s initial
scheduling conference is a weekday away and the plaintiff has failed to apprise the court of any
developments in this case.
       An involuntary dismissal may result under Rule 41(b) of the Federal Rules of Civil
Procedure “[i]f the plaintiff fails to prosecute or to comply with these rules or a court order.”
Fed. R. Civ. P. 41(b). “The authority of a federal trial court to dismiss a plaintiff’s action ...
because of his failure to prosecute cannot seriously be doubted.” Link v. Wabash R.R., 370 U.S.
626, 629 (1962). “This power, which is of ancient origin ... is a necessary component of the
authority and responsibility of the district courts to establish orderly processes and manage
their calendars.” Pomales v. Celulares Telefonica, Inc., 342 F.3d 44, 48 (1st Cir. 2003) (internal
quotation marks omitted) (citing Young v. Gordon, 330 F.3d 76, 81 (1st Cir. 2003)). “[T]he
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district court’s decision to dismiss a claim for failure to prosecute with or without prejudice is
ordinarily within its discretion.” The Shell Co. (P.R.) Ltd. v. Los Frailes Serv. Station, Inc., 605
F.3d 10, 26 (1st Cir.2010). “While dismissal is appropriate only when a plaintiff’s misconduct
is extreme, wasting the court’s time and ignoring court deadlines have been found reason
enough to dismiss a complaint.” Asociacion de Enfermeria Visitante Auffant, Inc. v. Great-West
Life and Annuity Ins. Co., 775 F.Supp.2d 333, 348 (D.P.R. 2011) (citing Tower Ventures, Inc. v.
City of Westfield, 296 F.3d 43, 46 (1st Cir.2002)).
       Plaintiff here has disregarded two ordered deadlines. “[I]t is Plaintiff who has the duty
to prosecute [its] case … .” Rijos v. Anhang, No. CIV. 06-1833 DRD, 2009 WL 8724866, at *1
(D.P.R. May 9, 2009), aff’d sub nom. Vazquez-Rijos v. Anhang, 654 F.3d 122 (1st Cir. 2011).
See also Gomez Vazquez v. Litton Indus. Leasing Corp., 67 F.R.D. 117, 121 (D.P.R. 1975) (“[T]he
duty to prosecute an action lies with plaintiff, not defendant.”). “Plaintiff has woefully failed in
its duty to diligently prosecute this foreclosure case … .” Urban Fin. of Am. LLC v. De Jesus
Rosario, 365 F. Supp. 3d 237, 238 (D.P.R. 2019).
       The plaintiff’s conduct is disrespectful and shall not be tolerated. “[C]ourts cannot
effectively administer justice unless they are accorded the right to establish orderly processes
and manage their own affairs.” Young v. Gordon, 330 F.3d 76, 81 (1st Cir. 2003) (citing
Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991)). “It is self-evident that courts cannot function
if litigants may, with impunity, disobey lawful orders. … For that reason, courts must be given
considerable leeway in exercising their admitted authority to punish laggardly or noncompliant
litigants.” Chamorro v. Puerto Rican Cars, Inc., 304 F.3d 1, 4 (1st Cir. 2002) (internal citations
and quotation marks omitted). As a result, the court hereby dismisses this case without
prejudice.
       IT IS SO ORDERED.
       In San Juan, Puerto Rico, May 10, 2019.


                                                         S/ JUAN M. PÉREZ-GIMÉNEZ
                                                         JUAN M. PEREZ-GIMENEZ
                                                         SENIOR U.S. DISTRICT JUDGE
